82 F.3d 411
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Morgan STAVRAKES, Petitioner-Appellant,v.William L. SMITH, Warden;  Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 95-7964.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1996.Decided April 19, 1996.
    
      D.Md.
      DISMISSED.
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Deborah K. Chasanow, District Judge.  (CA-94-2625-DKC)
      James Morgan Stavrakes, Appellant Pro Se.  Mary Ellen Barbera, Assistant Attorney General, Joseph A. Curran, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before HALL, MURNAGHAN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Stavrakes v. Smith, No. CA-94-2625-DKC (D.Md. Nov. 15, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    